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ANGELINA STRAWDER, )
) Case No.:
Plaintiff, )

) - ~.
v. )¢;l'/'Y`Cl/~’YOL/+i/l/L’QW C)t\
) CoMPLAlNT AND I)EMANI)
CAP[TAL ONE, ) FOR JURY TRIAL

)
Def"endant. )

 

 

COMPLAINT

ANGELINA STRAWDER (“Plaintifl"), by and through her attorneys, KIMMEL &

SILVERMAN, P.C., alleges the following against CAPI'I`AL ONE (“Defendant”):
INTRODUC'I`ION

l. Plaintifi`s Complaint is based on the Telephone Consun'ier Protection Act
(“TCPA”), 42 U.S.C. § 227 et seq. and the Florida Consumer Collection Practices Act, Florida
Statute §559.55 et seq. (“FCCPA”).

JURISDICTION AND VENUE

2. Jurisdiction of` this Court arises pursuant to 28 U.S.C. § 1331. w M
An°ow Fin. Services. LLC. 132 S. Ct. 740, ?`47, 181 L. Ed. 2d 881 (2012).

3. Pursuant to 28 U.S.C. §1367(21), this Court has supplemental jurisdiction over
Plaintif`f"s claims under thc Florida Consun‘ier Collection Practices Act, Fla. Stat. (“FCCPA”), §
559.55, ct seq., because those claims share a common nucleus of operative facts with Plaintiff`s
claims under the TCPA. B LeB|anc v. Unilimd CCR Partners, 601 F.3d 1185 (l lth Cir. 2010).

4. Defcndant conducts business in the State of Florida and as such, personal

jurisdiction is established

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PLAINTIFF`S COMPLAINT

 

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5. Venue is proper pursuant to 28 U.S.C. § l391(b)(2).
PARTIES

6. Plaintiff is a natural person residing in Fort Myers, Florida 33905.

7. Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

8. Plaintiff is a “consurner” as defined by the FCCPA and is a person whom the act
was intended to protect, FCCPA, Fla. Stat. § 559.55(8).

9. Defendant is a corporation that has its mailing address located at 1680 Capital
One Drive, Mclean, VA 22101.

10. Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).

ll. Defendant is a “creditor” as that term is defined in the FCCPA, Fla. Stat. §
559.55(5).

12. Defendant acted through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

FAC'I`UAL ALLEGATIONS

13. Plaintiff has a cellular telephone number that she has had for at least two years.

14. Plaintiff has only used this phone as a cellular telephone.

15. Beginning in or around summer 2015 and continuing through in or about early
2017, Defendant called Plaintiff repeatedly on her cellular telephone.

16. When contacting Plaintiff, Defendant called Plaintiff using an automatic
telephone dialing system and automatic and/or pre-recorded messages

l7. Plaintiff knew that Defendant was calling her using an automated telephone
dialing system as she was routinely greeted by a recording prior to connecting to one of

Defendant’s live agents.

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PLAlNTlFF‘S COMPLAINT

 

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18. Defendant’s telephone calls were not made for “emergency purposes.”

19. Desiring to stop Defendant’s excessive daily calls, Plaintiff spoke with Defendant
shortly aher calls began and told Defendant to stop calling her, thereby revoking any consent
Defendant may have had to call Plaintiff on her cellular telephone

20. Once Defendant was informed that its calls were unwanted and to stop calling, all
further calls could only have been made solely for the purposes of harassment.

21. Rather than restricting its calls to Plaintift` s cellular telephone, Defendant
proceeded to ignore Plaintiff’s revocation and subsequent demands to stop calling her cellular
telephone and continued to call her through early 2017,

22. Exasperated and annoyed by Defendant’s failure to stop calling her cell phone,
Plaintiff downloaded a blocking application onto her cellular telephone as a means to stop these
harassing calls,

23. Upon information and belief, Defendant conducts business in a manner which

violates the 'I`elephone Consumer Protection Act.

COUNT I
DEFENDANT VIOLATED THE
TELEPHONE CONSUMER PROTECTION ACT
24. Plaintiff incorporates the forgoing paragraphs as though the same were set forth at
length herein.
25. Defendant initiated automated calls to Plaintiff using an automatic telephone

dialing system and automatic and/or pre-recorded messages

26. Defendant’s calls to Plaintiff were not made for “emergency purposes.”

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27. Defendant’s calls to Plaintiff, on and after summer 2015, were not made with
Plaintist prior express consent.

28. Defendant’s acts as described above were done with malicions, intentional,
willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
purpose of harassing Plaintiff.

29. The acts and/or omissions of Defendant were done unfairly, unlawfully,
intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,
legal justification or legal excuse.

30. As a result of the above violations of the TCPA, Plaintiff has suffered the losses

and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

damages
COUNT II
DEFENDANT VIOLATED
THE FLORIDA CONSUMER COLLECTION PRACTlCES ACT
31. Plaintiff incorporates the foregoing paragraphs as though the same were set forth
at length herein.

32. Any person attempting to collect a consumer debt violate § 559.72(7) by willfully
communicating with the debt with such frequency as can reasonably be expected to harass the
debtor or willfully engaging in other conduct which can be reasonable excepted to abuse or
harass, the debtor, such as causing a telephone to ring or engaging any person in telephone

conversation repeatedly or continuously with intent to annoy, abuse, or harass.

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33.

calls to Plaintiff between December 2015 and early 2017, calling over and over again despite

knowing its calls were unwanted.

WHEREFORE, Plaintiff, ANGELINA STRAWDER, respectfully prays for a judgment

as follows:

Defendant violated § 559.72(7) when it placed repeated and continuous telephone

. Statutory damages of $1,000.00 pursuant to Florida Consumer Collection

. Costs and reasonable attomeys’ fees pursuant to Florida Consumer Collection

. All actual damages Plaintiff suffered (as provided under 47 U.S.C. §.

. Statutory damages of $500.00 per violative telephone call (as provided under

. Treble damages of $1,500.00 per violative telephone ca11 (as provided under

. Any other relief this Honorable Court deems appropriate

PRAYER FOR RELlEF

Practices Act, Fla. Stat. §559.77;

Practices Act, Fla. Stat. §559.77;

227(1>)(3)(-'\));

47 U.S.C. § 227(b)(3)(B));

47 U.S.C. § 227(b)(3));

Injunctive relief (as provided under 47 U.S.C. § 227(b)(3)); and

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PLEASE TAKE NOTlCE that Plaintiff, ANGELINA STRAWDER, demands ajury trial

in this case.

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2017

DEMAND F()R JURY TRIAL

RESPECTFULLY SUBMITTED,

KIMMEL & SILVERMAN, P.C.

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